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                              UNITED STATES DISTRICT COURT
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                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,               No. 2:24-CR-00091-ODW
9
                Plaintiff,                   ORDER GRANTING STIPULATION
10                                           TO MODIFY BRIEFING SCHEDULE
                     v.                      [97]
11
     ALEXANDER SMIRNOV,
12
                Defendant.
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          The Court has read and considered the Stipulation to Modify
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     Briefing Schedule filed by the parties on August 5, 2024.           The Court
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     hereby finds that the Stipulation, which this Court incorporates by
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     reference into this Order, demonstrates facts that support a
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     modification of the briefing schedule provided for in Dkt 64, and
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     therefore the Court finds good cause.
20
          THEREFORE, FOR GOOD CAUSE SHOWN:
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          The briefing schedule in Dkt 64 is modified as follows:
22
          i.    Defendant’s CIPA Section 5 notice is due no later than:
23
     Two weeks after the government provides Defendant’s counsel access to
24
     the classified information discovery;
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          ii.   Government’s Objections to Defendant’s CIPA Section 5 &
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     government’s CIPA Section 6(a) filing is due no later than:            Three
27
     weeks after Defendant’s CIPA Section 5 notice.
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1         iii. Defendant’s Reply in CIPA Section 5 and Response to

2    government’s CIPA Section 6(a) is due no later than:         Two weeks after

3    government’s CIPA Section 6 filing.

4         The remaining briefing schedule in Dkt 64 is not impacted by

5    this Order.

6         IT IS SO ORDERED.

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8     September 10, 2024
      DATE                                   HONORABLE OTIS D. WRIGHT II
9                                            UNITED STATES DISTRICT JUDGE
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